                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            Case No. 1:20-cv-00997-CCE-LPA

  SYLVESTER ALLEN, JR. et al.,

                            Plaintiffs,

 v.

  CITY OF GRAHAM, et al.,

                            Defendants.


                                                           CITY DEFENDANTS’ REPLY TO
                                                            ALLEN PLAINTIFFS [D.54] IN
  GREGORY DRUMWRIGHT, et al.,
                                                             SUPPORT OF MOTION TO
                                                               DISMISS THE ALLEN
                              Plaintiffs,
                                                                   COMPLAINT

  v.

  TERRY JOHNSON, individually and in
  his official capacity as Alamance County
  Sheriff, et al.,

                               Defendants.




       Plaintiffs’ opposition to the City Defendants’ motion to dismiss is noteworthy as much as

for what it says, as for what it does not say. As an overall concern, at no point do Plaintiffs

dispute the overarching objection in the City Defendants’ motion that Plaintiffs rely on

generalized allegations against generalized classes of defendants, without identifying specific

alleged bad acts by specific defendants against named plaintiffs. Plaintiffs’ attempts to evade the

strictures of Rule 8 through misplaced case law fares no better.



                                                  1



        Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 1 of 13
     Plaintiff’s first arguments regarding their Voting Rights Act and corresponding conspiracy

claim are important for what may be a dispositive point of agreement—the relevance of

Plaintiffs’ protest permit. Plaintiffs’ voting rights arguments are long on case law arguments and

almost entirely silent on analyzing those portions of their complaint that would align with the

cases they cite. Plaintiffs’ reference to its allegations in support of their VRA claim are limited to

one sentence—that they had a permit for “an event titled ‘March to the Polls’ …,” which

obviously, given its title, pertained to voting. [D.54, p. 7.] Plaintiffs cite to three paragraphs in

their complaint that reference their permit. [D.24, ¶¶ 41, 55, 69.] The City Defendants agree;

Plaintiffs’ march permit is compelling, even dispositive, as to whether their event was a voting

related activity. The Court may and should review Plaintiffs’ permit, which Plaintiffs repeatedly

referenced but chose not to attach to their complaint.

     “In determining a motion for judgment on the pleadings, the court may consider documents

incorporated by reference in the pleadings.” Parks v. Alteon, Inc., 161 F. Supp. 2d 645, 649 n.1

(M.D.N.C. 2001); accord Benson v. Life Ins. Co. of N. Am., No. 5:14-CV-377-BR, 2014 WL

6666944, at *1 (E.D.N.C. Nov. 24, 2014). Attached at Exhibit A hereto is Plaintiff’s permit

incorporated by reference into Plaintiffs’ pleadings.

     Contrary to Plaintiffs’ arguments, their permit was not titled, “March to the Polls.”

Plaintiffs’ titled their permit, I AM CHANGE MARCH. Under “Mission/Purpose of Event,”

Plaintiffs state “March/Social Justice Rally.” They selected the entirety of the Courthouse

property; “voting” and “March to the Polls” are nowhere on the permit. 1

     As previously stated, Plaintiffs allege Defendants deployed pepper spray after marchers



1
 The Allen Plaintiffs also allege they had a permit to lay down in the state highway to
commemorate George Floyd. [D.24, ¶55.] Even if it were true Graham issued such a permit (they
did not), commemorating the death of Mr. Floyd was also not a voting rights activity.
                                                   2



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 2 of 13
knelt and laid down in the state highway at North Main and Courthouse Square to commemorate

George Floyd and failed to timely disburse after being ordered to do so. [D.24, ¶¶ 54-56, 62.]

From there, the marchers set up a stage from which the Reverend Drumwright and others gave

speeches. Approximately 30 minutes into the speeches, according to the allegations, unidentified

law enforcement officers attempted to unplug Plaintiffs’ generator, and thereafter, law

enforcement deployed pepper spray into the crowd and then used pepper spray to clear out

“individuals who were allegedly not moving fast enough to leave.” [Id., ¶¶ 69, 71, 74-76.]

     The VRA defines “[t]he terms ‘vote’ or ‘voting’ [to] include all action necessary to make a

vote effective.” 52 U.S.C. § 10310(c)(1). The allegations, particularly when coupled with

Plaintiff's permit incorporated into the complaint, allege a social justice protest at the courthouse

that was wrongfully disrupted and disbursed; protestors had planned to go vote nearby thereafter,

but some did not after the confrontation with law enforcement at the protest. The social justice

protest at the courthouse alongside the Confederate memorial was not voting nor a voting-related

activity, at least not within the context of the VRA.2

     None of the cases cited by the Allen Plaintiffs are relevant to the facts of this case. Those

cases do, however, demonstrate what courts have found to be voting-related activities. In

National Coal. on Black Civic Participation v. Wohl, No. 20 Civ. 8668 (VM), 2020 WL 6305325

(S.D.N.Y. Oct. 28, 2020), the defendants were sending out thousands of robo-calls that expressly

discouraged voters from voting based on false statements that their voting information could be

used against them in various way. Id. at *3. The statements were false, and were for the purpose




2
 If such attenuated activities were subject to section 11(b) of the VRA, then the Allen Plaintiffs’
own conduct at the march, namely blocking traffic near a polling place while participating in a
march, a video of which shows participants raising Black Power fists, could have violated the
Act.
                                                  3



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 3 of 13
of suppressing voting.

     Similarly, in United States v. McLeod, 385 F.2d 734 (5th Cir. 1967), in 1963, the Sherriff’s

office covering Selma, Alabama, arrested (and convicted) civil rights workers working for and

with the Voters League for interviewing people waiting in a voter registration line, for attending

a voting registration meeting, and arrested and prosecuted the field secretary overseeing the voter

registration activities on trumped up charges of vagrancy. Id. at 737-39. The court found a clear

pattern: each person arrested was “prominently active” in voter registration of minorities and the

criminal prosecutions levied against each person were baseless. Id. at 741-42.

     The holding of Katzenbach v. Original Knights of Ku Klux Klan, 250 F. Supp. 330, 341

(E.D. La. 1965) addressed in extensive and toe-curling detail the KKK’s deliberate, systematic

campaign of violence and economic punishment directed at Black Americans who registered to

vote, assisted those who did or who participated in desegregation, in the early 1960s in and

around Bogalusa, La., a campaign to which the KKK apparently admitted at the trial stage. Id. at

337-344.

     This is not Selma, 1963 and the Graham Police Department is not a terrorist organization.

Cf. Shelby County, Ala. v. Holder, 133 S. Ct. 2612, 2618 (2013) (“There is no denying, however,

that the conditions that originally justified these measures [section 5 preclearance under the

VRA] no longer characterize voting in the covered jurisdictions.”). Defendants are local law

enforcement officers serving their community. Plaintiffs’ advocating for social justice and

against the Confederate memorial were not voting related activities, at least nowhere near the

caliber of activities addressed in the cases upon which Plaintiffs rely.

     The Allen Plaintiffs also argue courts have “recognized” VRA claims “in circumstances far

more attenuated from the act of voting than Defendants’ actions at the March.” [D.54, p. 13.]



                                                  4



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 4 of 13
But the circumstances at issue in the two cases they cite for that proposition, United States v.

Bruce, 353 F.3d 474 (5th Cir. 1965), and NCBCP, 2020 WL 6305325, were not removed from

voting activities. The City Defendants’ have already discussed the voter-intimidation conduct at

issue NCBCP above.

     The plaintiff in Bruce alleged that he had “urge[d] his Negro neighbors and friends to seek

to register and vote,” but ultimately found his attempts to register voters “rebuffed” by registrars

citing a “requirement which the Federal courts [had] since invalidated.” Id. at 476. The Bruce

court read the plaintiff’s allegations concerning his insurance business in context, finding the

complaint detailed “acts being of such a nature as actually to put an end to his activities in the

field of voter registration, and his removal from his home county.” Id.; see also NCBCP, 2020

WL 6305325, at *18 (noting that “in context, it is not difficult to see how” defendants’ conduct

may cause reasonable Black voters to resist voting out of fear). Here, there are no allegations that

the City Defendants “put an end” to the Allen Plaintiffs’ voting activity. Further, Bruce was

decided under the pleading framework of Conley v. Gibson, 355 U.S. 441 (1957), which the

Supreme Court since discarded in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). The

Allen Plaintiffs fail to state a claim.

     The Allen Plaintiffs’ next argument regarding their federal constitution claims are troubling

and legally misplaced.3 Their arguments start with the premise The City of Graham should be

held liable because Chief Cole was the police chief, with authority over the police force, and she

“expressly ratified” and defended the decision by her officers to “instruct white supremacist

counter-protestors to leave the courthouse area” and then proceed to pepper spray Plaintiffs.




3
  As noted in the opening memorandum, the Allen Plaintiffs’ run roughshod over Rule 11 and, in
their federal constitutional arguments, they again repeatedly ignore that Rule’s constraints.
                                                  5



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 5 of 13
Plaintiffs’ racially charged allegation is, at best, a half-truth.

     The October 31, 2020 event was organized by Plaintiff Gregory Drumwright, as shown by

his name and signatures at the aforementioned permit at Exhibit A hereto. Rev. Drumwright was

and still is represented by attorney Elizabeth Haddix. As shown at Exhibit B, hereto, Ms. Haddix

clearly communicated Plaintiffs’ demands of law enforcement heading into the protest. On

October 31, at 10:44 AM, minutes before Plaintiffs’ march was set to commence, Ms. Haddix

instructed Chief Cole:

     Rev. Drumwright will set his PA and platform up at Sesquintennial [sic] Square. He will be
     speaking to the rally participants … . As you know, those areas are all reserved for
     exclusive use between 11-2pm for participants in this event who support The message of
     this event. Therefore, we expect GPD and ACSO to intervene if necessary to remove
     counter demonstrators (which will include folks with Confederate and other similar
     symbols) from the permitted area during that time. Counter demonstrators may be
     within ear range, but at a far enough distance so that they do not interfere with or
     obstruct Rev. Drumwright’s message or the message of any other speakers he has at
     this event.

Haddix email to Cole, Discuss Oct 31 Drumwright March (Oct. 31, 2020) (emphasis added) (Ex.

B hereto). It is true that GPD moved counter protestors away from Plaintiffs at the outset of the

protest, but they did so precisely because Plaintiffs’ attorney demanded it be done. While Rule

12(b) allows Plaintiffs to ask this Court to ignore at this stage what Plaintiffs’ attorney

demanded, Rule 12(c) and perhaps Rule 11 open the door to the Court considering that Plaintiffs’

demanded the very conduct they now claim gives rise to their claims for municipal liability and

defeats qualified immunity.

        Even if the Court allows Plaintiffs to pursue claims at this stage based on actions

Plaintiffs demanded, Plaintiffs’ claims against the City of Graham still fail. The precedent cited

by Plaintiffs do not support their argument that agents acting with their scope of their authority is

sufficient to sustain municipal liability. To the contrary, that is precisely the theory of respondeat



                                                    6



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 6 of 13
superior, which the Supreme Court expressly rejected. Monell v. New York City Dept. of Social

Servs., 436 U.S. 658, 691 (1978) (“[A] municipality cannot be held liable under § 1983 on a

respondeat superior theory.”).

        Plaintiffs argue that ratification by a “policymaker” such as Chief Cole is sufficient to

sustain a claim for municipal liability. [D. 54, pp. 15-17.] The very cases upon which Plaintiffs

rely demonstrate the opposite. The holding in Davison v. Loudon Cty. Bd. of Supervisors, No.

16-cv-932, 2016 WL 4801617, at *6 (E.D. Va. Sept. 14, 2016) underscores the City’s argument.

In that case, the issue was whether the County Board of Supervisors was liable for condoning the

suppression of the plaintiff’s speech. There was no dispute that the Board of Supervisors was the

final authority for the County. Further, that case also undermines the second proposition for

which Plaintiffs cite it—that Rule 12(b)(6) review is inappropriate, since that court dismissed

several of the plaintiff’s claims. See id. *9 (dismissing the majority of § 1983 claims).

        Plaintiff’s reliance upon Skeen v. Washington Cty. Sheriff’s Office, No. 1:20CV00017,

2020 WL 6688550, at *4-6 (W.D. Va. Nov. 12, 2020) is similarly misplaced. In that case, faced

with formulaic allegations bereft of specific facts, the court dismissed the complaint at the Rule

12 stage. Regarding a theory of ratification, the court held “the sheriff’s ratification must still

have plausibly caused the alleged constitutional violation to avoid improperly relying on the

theory of respondeat superior.” Id. at *5. No such facts are alleged sub judice. Finally, there was

no dispute in Skeen that the sheriff was the final authority for the sheriff’s office. Plaintiffs rely

also on Shinaberry v. Town of Murfreesboro, 2018 WL 1801417 (E.D.N.C. Apr. 16, 2018) for

the argument that a post-event GPD press conference constituted ratification. However, the

Shinaberry court dismissed § 1983 claims against a municipality for deficient pleadings. The

court found that “Shinaberry’s amended complaint does not plausibly allege that Hinton’s



                                                   7



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 7 of 13
alleged conduct resulted from any Town policy or that Hinton had final policymaking authority.”

Id. *3. No facts are alleged regarding the press conference details nor how the unidentified press

conference statements (by an unidentified party) caused the alleged constitutional deprivations.

       Plaintiffs also rely on the holding in Armstrong v. City of Greensboro, 190 F. Supp. 3d

450 (M.D.N.C. 2016) as part of their errant arguments against Chief Cole’s qualified immunity,

addressed below. In that decision, Judge Osteen conducted a detailed analysis of Greensboro’s

ordinances regarding the authority of its police chief. Faced with a nearly identical ordinance as

Graham’s, and with nearly identical arguments regarding municipal liability by that plaintiff,

Judge Osteen granted the City of Greensboro’s motion to dismiss. Judge Osteen found the

Greensboro ordinances vested final authority regarding law enforcement measures with the

Greensboro city manager and the factual allegations of the complaint failed to demonstrate a

delegation to the contrary. Id. at 472-77. Armstrong is squarely on point with the facts and

ordinances of this case.

       Plaintiffs’ reliance on the unpublished opinion Estate of Bryant v. Baltimore Police

Dep’t, 2020 WL 673571, *36 (D. Md. Feb. 10, 2020) is also misplaced. That case dealt with a

police department’s alleged deliberate withholding of exculpatory evidence and fabrication of

evidence, as part of a murder trial. At the Rule 12(b)(6) stage, the trial court found the plaintiff

specifically alleged a policy and practice of failing to turn over exculpatory evidence and that the

police department had a practice of fabricating evidence. The plaintiff included several

paragraphs of specific examples of such established policies and practices. Id. In this case, the

Allen complaint itself does not articulate the alleged unconstitutional policy and does not set

forth any facts showing any final policy maker for the City or by Chief Cole ratifying or

endorsing such policy.



                                                  8



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 8 of 13
       In their briefing, the Allen Plaintiffs argue “Chief Cole made a general policy of pepper

spraying in response to protests . . .” [D. 54, p. 15.] That specific policy allegation is not found in

their second amended complaint nor are there facts pled sufficient to support such a conclusion.

       Plaintiff’s argument that the post-protest press conference ratified the alleged conduct

and gives rise to municipal liability fails as a matter of law. As the Skeen court observed, “[a]ny

such ratification, entirely subsequent to the alleged violation, does not plausibly illustrate a

policy that was the moving force behind the ultimate violation. Thus, the plaintiff’s ratification

theory, as alleged, must fail.” Skeen, 2020 WL 6688550, at *6 (internal citations and quotation

marks omitted).

       Plaintiffs’ arguments against qualified immunity for Chief Cole and Officer Velez also

fail to overcome the fatal defects in their pleadings. Relying upon the holding in Armstrong, 190

F. Supp. 3d at 464, Plaintiffs argue Chief Cole faces individual liability for her “subsequent

conduct in defending the use of pepper spray and refusing to investigate officers for their use of

force.” [D. 54, p. 11.] Yet again, Plaintiffs’ precedent fails them. In Armstrong, Judge Osteen

granted the police chief’s motion to dismiss based on qualified immunity. “Here, there is no

allegation that [the Police Chief] was involved specifically in or around the particular

misconduct alleged against Plaintiff.” Id. at 465. Such again is the case. There are no facts

alleged that link Chief Cole directly to the alleged harm suffered by Plaintiffs. Related, as in

Skeen, Chief Cole’s alleged “subsequent conduct” could not have caused the alleged

deprivations.

       Apparently unconcerned regarding Rule 11, the Allen Plaintiffs continue their fantastic

allegations against their alleged super-villain, Lt. Velez. There is one thing consistent though in

their impugning him—a continued lack of specifics. Lt. Velez allegedly personally engaged in



                                                   9



      Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 9 of 13
every one of the types of bad acts (accept the press conference) alleged by Plaintiffs, but there is

not one, single specific act alleged other than safely shuffling away white-supremacist counter-

protesters. Whom, if anyone, did Lt. Velez “pepper spray”? Which paramedics did he “block”

from giving aid to whom? When? Where? Velez is the only individual specifically named to

these general allegations of bad acts. These are not even “unadorned, the defendant-unlawfully-

harmed me accusations,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), because there are no

“me’s” identified. The allegations do not provide Velez with fair notice; they leave him to

speculate as to whom he allegedly harmed and how. The pleadings are deficient.

       Such generalized allegations are also remarkable in the context of the pleadings. The

Allen Plaintiffs devoted 32 paragraphs to specific bad acts allegedly suffered by specific

Plaintiffs, yet Velez is not mentioned once in those specific allegations. [See D. 24, ¶¶ 98-129.]

The Rule 12 precedent cited by Plaintiffs routinely states the specific bad acts allegedly

committed by the specific defendants. Not only do specific facts tying defendants to the alleged

harms provide fair notice to the defendants, they also allow the court to understand what each

person is alleged to have done for purposes of evaluating potential liability and immunity.

Plaintiffs accuse Velez of several types of bad acts. With the exception of his clearing counter-

protestors prior to the protest (as Haddix demanded), Plaintiffs allegations do not plead specific

facts demonstrating Velez engaged in those alleged actions. The claims against him should be

dismissed, with leave granted to amend to specifically allege his alleged misconduct and which

Plaintiffs he allegedly harmed.

       Finally, Plaintiffs argue that because this is a federal civil rights case, their

unincorporated entity, Future Alamance, has standing to represent unidentified members,

irrespective of State law regarding an entity’s capacity to sue and be sued. Plaintiffs are



                                                  10



     Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 10 of 13
dismissive of N.C. Gen. Stat. § 1-69.1(a)(3), stating that state “pleading requirements” are

irrelevant in federal court. While it is certainly true that North Carolina’s rules of civil procedure

and precedent regarding pleadings requirements are inapposite to Plaintiff’s claims, it is not true

that § 1-69.1(a)(3) is a rule of state civil procedure. Instead of a rule of procedure, § 1-69.1(a)(3)

is the statute that conveys legal authority for unincorporated associations to sue or be sued in

North Carolina. That authority is predicated on certain procedures, to include the filing of a

certificate of assumed name and providing notice of who in fact the entity is.

       Yet again, Plaintiffs’ cited legal authority impeach Plaintiffs’ argument. The court in N.

Iredell Neighbors for Rural Life v. Iredell Cty., 196 N.C. App. 68, 75 (2009), specifically held

the unincorporated plaintiff “did not have standing to bring suit” precisely because it failed to

comply with the legal standing requirements of § 1-69.1(a)(3). Plaintiffs’ second cited case

regarding standing, Jackson v. Mecklenburg Cty., No. 07-cv-218, 2008 WL 2982468, at *2

(W.D.N.C. July 30, 2008), says absolutely nothing about the legal capacity and standing of

unincorporated entities; the quoted portions only regard the North Carolina rules of civil

procedure. That opinion, did, however, include Rule 12(b)(6) dismissals of the plaintiff’s § 1983

claims against the county and its officials. Id. at *4, *7. Plaintiff’s standing arguments lack merit

and Future Alamance should be dismissed.

       Respectfully submitted, this the 2nd day of April 2021.

                                               By:      /s/ Anthony J. Biller
                                                       Anthony J. Biller
                                                       NC State Bar No. 24,117
                                                       Adam P. Banks
                                                       NC State Bar No. 47,559
                                                       2601Oberlin Rd, STE 100
                                                       Raleigh, NC 27608
                                                       Telephone: (919) 414.0313
                                                       Facsimile: (919) 782.0452
                                                       Email: ajbiller@envisage.law

                                                  11



     Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 11 of 13
                                     Email: abanks@envisage.law

                                     Attorney for City of Graham, Kristi Cole
                                      Joaquin Velez, and Jonathan Franks




                                12



Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 12 of 13
                            CERTIFICATE OF WORD COUNT

    The undersigned hereby certifies that the foregoing document complies with the word count
limitations of L.R. 7.3(d)(1).

       This the 2nd day of April, 2021.

                                    By:    /s/ Anthony J. Biller
                                           Adam P. Banks
                                           NC State Bar No. 24,117
                                           2601Oberlin Rd, STE 100
                                           Raleigh, NC 27608
                                           Telephone: (919) 414.0313
                                           Facsimile: (919) 782.0452
                                           Email: abanks@envisage.law




                                              13



     Case 1:20-cv-00997-CCE-LPA Document 68 Filed 04/02/21 Page 13 of 13
